                                            . S. Department of Justice

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                                MEMORA           DUM

DATE:         Augu t 14, 2024

TO:           Clerk' Office
              United States District Court
              Ea stern Di trict of orth Carolina
              Raleigh, North Carolina

REPLY TO: NIICHAEL F. EASLEY, JR.
          United States Attorney

ATT     OF:   GABRIEL J. DIAZ
              Assistant United States Attorney

SUBJECT: UNITED STATES v. KAI LIAM NIX
                            7 /k./a "Kai Brazelton"
           No.§:'2 ~ -CQ.,.     JA..?
                                 WESTERN DIVISIO


        Plea e i ue warrants for the arre t of the above-named defenda nts and place
 ame, together with a certified copy of the Indict ment, in the hand of the U .S.
Marshal for service. Also, please return a certified copy of the Indictment to thi
office and the U.S. Pretrial Services Office. The warran t should be returnable before
the U.S. Magistrate Judge.




GD:jf

cc: US Mar hal Service
    US Probation Office




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